        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 1 of 22




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11                                UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14

15 THE LOUIS D. BRANDEIS CENTER, INC.;                Case No. 3:23-cv-06133-JD
   JEWISH AMERICANS FOR FAIRNESS IN
16 EDUCATION (JAFE),                                  MOTION TO DISMISS FIRST AMENDED
                                                      COMPLAINT
17                 Plaintiffs,

18          vs.                                       Hearing Date:      August 8, 2024
                                                      Time:              10:00 am
19 REGENTS OF THE UNIVERSITY OF                       Place:             Courtroom 11
   CALIFORNIA; UNIVERSITY OF                          Judge:             Hon. James Donato
20 CALIFORNIA AT BERKELEY; BERKELEY
   LAW SCHOOL; MICHAEL DRAKE, in his
21 official capacity as President of the University
   of California; CAROL T. CHRIST, in her
22 official capacity as Chancellor of the
   University of California, Berkeley; BEN
23 HERMALIN, in his official capacity as
   Provost of the University of California,
24
                   Defendants.
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                                                                            Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
       Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 2 of 22




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                                                                     Case No. 3:23-cv-06133-JD
                         MOTION TO DISMISS FIRST AMENDED COMPLAINT
            Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 3 of 22




 1                                                      TABLE OF CONTENTS
                                                                                                                                                Page
 2

 3 STATEMENT OF RELIEF SOUGHT ..............................................................................................1

 4 MEMORANDUM OF POINTS AND AUTHORITIES ...................................................................1

 5 I.         INTRODUCTION ..................................................................................................................1

 6 II.        THE ALLEGATIONS IN THE COMPLAINT .....................................................................2

 7            A.        The University’s Commitment to Nondiscrimination and Free Expression. .............2

 8            B.        Plaintiffs Allegations of Antisemitism on UC Berkeley’s Campus and The
                        University’s Response. ...............................................................................................3
 9
     III.     LEGAL STANDARD ............................................................................................................5
10
     IV.      ARGUMENT .........................................................................................................................5
11
              A.        Plaintiffs’ Claims Should Be Dismissed Under Article III and Rule
12                      12(b)(1).......................................................................................................................5
13                      1.         Plaintiffs’ Title VI Claim Should Be Dismissed As Unripe. .........................5
14                      2.         Plaintiffs Lack Standing to Challenge the Student Group Bylaws. ...............7
15            B.        All of the Claims Should be Dismissed Under Rule 12(b)(6)....................................8
16                      1.         Plaintiffs Fail to State an Equal Protection Claim..........................................8
17                      2.         Plaintiffs Fail to State a Free Exercise Claim.................................................8
18                      3.         Plaintiffs Fail to State a Claim Under Section 1981. .....................................9
19                      4.         Plaintiffs Fail to State a Title VI Claim..........................................................9
20                                 (a)        Plaintiffs Fail to State a Claim for Direct Discrimination. ...............10
21                                 (b)        Plaintiffs Fail to State a “Hostile Environment” Claim
                                              Because They Have Not Alleged Deliberate Indifference. ..............10
22
                        5.         Plaintiffs Fail to State an ADA Claim. .........................................................14
23
     V.       CONCLUSION ....................................................................................................................15
24

25

26

27

28

                                                                          -i-                                       Case No. 3:23-cv-06133-JD
                                      MOTION TO DISMISS FIRST AMENDED COMPLAINT
            Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 4 of 22




 1                                                    TABLE OF AUTHORITIES

 2                                                                                                                                     Page(s)
      FEDERAL CASES
 3
      Ashcroft v. Iqbal,
 4
         556 U.S. 662 (2009) .....................................................................................................................5
 5
      Ballou v. McElvain,
 6       29 F.4th 413 (9th Cir. 2022) .........................................................................................................8

 7 Barnes v. Gorman,
       536 U.S. 181 (2002) .................................................................................................................6, 9
 8
   Bassilios v. City of Torrance,
 9     166 F. Supp. 3d 1061 (C.D. Cal. 2015) ......................................................................................15
10
   Bd. of Education, Island Trees Union Free School District No. 26 v. Pico,
11     457 U.S. 853 (1982) .....................................................................................................................7

12 In re Coleman,
       560 F.3d 1000 (9th Cir. 2009) ......................................................................................................5
13
   Davis v. Monroe County Bd. of Education,
14     526 U.S. 629 (1999) .................................................................................................10, 11, 13, 14
15
   Doe v. Oberlin College,
16    60 F.4th 345 (6th Cir. 2023) .........................................................................................................6

17 Does 1-5 v. Chandler,
      83 F.3d 1150 (9th Cir. 1996) ......................................................................................................15
18
   Felber v. Yudof,
19    851 F. Supp. 2d 1182 (N.D. Cal. 2011) .................................................................................9, 11
20 Feminist Majority Foundation v. Hurley,

21    911 F.3d 674 (4th Cir. 2018) ......................................................................................................14

22 Friends of the Earth v. Sanderson Farms, Inc.,
       992 F.3d 939 (9th Cir. 2021) ........................................................................................................7
23
   General Building Contractors Ass’n, Inc. v. Pennsylvania,
24     458 U.S. 375 (1982) .....................................................................................................................9
25 Healy v. James,
      408 U.S. 169 (1972) .....................................................................................................................7
26

27 Hurley v. Irish-American Gay, Lesbian, & Bisexual Group Of Boston,
      515 U.S. 557 (1995) .....................................................................................................................7
28

                                                                          -ii-                                   Case No. 3:23-cv-06133-JD
                                        MOTION TO DISMISS FIRST AMENDED COMPLAINT
            Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 5 of 22




 1 Karasek v. Regents of the University of California,
      956 F.3d 1093 (9th Cir. 2020) ................................................................................................6, 12
 2
   Kennedy v. Bremerton School District,
 3    142 S. Ct. 2407 (2022) .................................................................................................................9
 4
   Khoja v. Orexigen Therapeutics, Inc.,
 5    899 F.3d 988 (9th Cir. 2018) ......................................................................................................11

 6 Kirola v. City & County of San Francisco,
      860 F.3d 1164 (9th Cir. 2017) ....................................................................................................15
 7
   La Asociacion de Trabajadores de Lake Forest v. City of Lake Forest,
 8    624 F.3d 1083 (9th Cir. 2010) ......................................................................................................7
 9 Lazy Y Ranch Ltd. v. Behrens,
10    546 F.3d 580 (9th Cir. 2008) ......................................................................................................11

11 Lujan v. Defenders of Wildlife,
      504 U.S. 555 (1992) .....................................................................................................................7
12
   M.S. v. Brown,
13    902 F.3d 1076 (9th Cir. 2018) ......................................................................................................8
14 Mandel v. Bd. of Trustees of California State University,

15   No. 17-cv-03511-WHO, 2018 WL 1242067 (N.D. Cal. Mar. 9, 2018) .....................9, 10, 12, 14

16 Mandel v. Bd. of Trustees of California State University,
      No. 17-cv-03511-WHO, 2018 WL 5458739 (N.D. Cal. Oct. 29, 2018) ......................................6
17
   Miami Herald Publishing Co. v. Tornillo,
18    418 U.S. 241 (1974) .....................................................................................................................7
19 Monteiro v. Tempe Union High School District,
     158 F.3d 1022 (9th Cir. 1998) ......................................................................................................8
20

21 Moore v. Regents of the University of California,
      No. 15-CV-05779-RS, 2016 WL 2961984 (N.D. Cal. May 23, 2016) ................................12, 13
22
   Oden v. Northern Marianas College,
23    440 F.3d 1085 (9th Cir. 2006) ....................................................................................................12
24 Peloe v. University of Cincinnati,
      No. 1:14-cv-404, 2015 WL 728309 (S.D. Ohio Feb. 19, 2015) ..................................................6
25
   Reeves v. Nago,
26
      535 F. Supp. 3d 943 (D. Haw. 2021) ...........................................................................................8
27
   Rosenberger v. Rector & Visitors of University of Virginia,
28    515 U.S. 819 (1995) .....................................................................................................................8

                                                                        -iii-                                  Case No. 3:23-cv-06133-JD
                                        MOTION TO DISMISS FIRST AMENDED COMPLAINT
            Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 6 of 22




 1 Shooter v. Arizona,
      4 F.4th 955 (9th Cir. 2021) ...........................................................................................................8
 2
   Students for Fair Admissions, Inc. v. President & Fellows of Harvard College,
 3    600 U.S. 181 (2023) ...................................................................................................................10
 4
   Swartz v. KPMG LLP,
 5    476 F.3d 756 (9th Cir. 2007) ......................................................................................................11

 6 Tandon v. Newsom,
      593 U.S. 61 (2021) .......................................................................................................................9
 7
   Tanjaya v. Regents of University of California,
 8    No. CV 19-2956-GW(FFMx), 2019 WL 13252681 (C.D. Cal. Dec. 12, 2019) ........................13
 9 Terenkian v. Republic of Iraq,
10    694 F.3d 1122 (9th Cir. 2012) ......................................................................................................5

11 Texas v. United States,
      523 U.S. 296 (1998) .....................................................................................................................5
12
   The Committee Concerning Community Improvement v. City of Modesto,
13    583 F.3d 690 (9th Cir. 2011) ......................................................................................................10
14 United States v. County of Maricopa,

15    889 F.3d 648 (9th Cir. 2018) ........................................................................................................5

16 US West Communications v. MFS Intelenet, Inc.,
      193 F.3d 1112 (9th Cir. 1999) ......................................................................................................6
17
   Wash. Environmental Council v. Bellon,
18    732 F.3d 1131 (9th Cir. 2013) ......................................................................................................7
19 Washington v. Davis,
     426 U.S. 229 (1976) .....................................................................................................................8
20

21 Weinreich v. Los Angeles County Metropolitan Transportation Authority,
      114 F.3d 976 (9th Cir. 1997) ......................................................................................................15
22
   FEDERAL STATUTES
23
   42 U.S.C. § 1981 ................................................................................................................................9
24
   FEDERAL RULES
25
   Rule 12(b)(1) ..................................................................................................................................1, 5
26

27 Rule 12(b)(6) ..............................................................................................................................1, 5, 8

28

                                                                            -iv-                                    Case No. 3:23-cv-06133-JD
                                          MOTION TO DISMISS FIRST AMENDED COMPLAINT
           Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 7 of 22




 1 CONSTITUTIONAL PROVISIONS

 2 U.S. CONST. amend. I ...........................................................................................................3, 7, 8, 11

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                                                                       -v-                                   Case No. 3:23-cv-06133-JD
                                       MOTION TO DISMISS FIRST AMENDED COMPLAINT
         Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 8 of 22




 1          PLEASE TAKE NOTICE that on August 8, 2024, before the Honorable James Donato in

 2 Courtroom 11, Defendants (collectively, “the University”) will and hereby do move for an order

 3 dismissing Plaintiffs’ First Amended Complaint (“FAC”) with prejudice. This Motion is based on

 4 the Notice of Motion and Memorandum of Points and Authorities, all papers on file, and any

 5 authority or argument presented in the reply and at any hearing.

 6                                 STATEMENT OF RELIEF SOUGHT

 7          Defendants seek dismissal of all claims pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

 8                        MEMORANDUM OF POINTS AND AUTHORITIES

 9 I.       INTRODUCTION
10          Plaintiffs’ FAC seeks to transform this case regarding student organization bylaws into an

11 open forum for litigating incidents at UC Berkeley as they hit the news. The University is deeply

12 committed to protecting all students from harassment and discrimination and has spoken with a

13 clear voice in condemning acts of antisemitism, but neither the Constitution nor federal civil rights

14 statutes make universities automatically liable for even abhorrent conduct by their students.

15 Instead, UC Berkeley can be held liable only if it engages in wrongful actions or is “deliberately

16 indifferent” to harassment by others—neither of which Plaintiffs plausibly allege here. Plaintiffs

17 do not allege that the University’s response was motivated by antisemitism. Nor do they plausibly

18 allege deliberate indifference to the acts of others. Indeed, the FAC demonstrates that the

19 University was not deliberately indifferent, expressly alleging that the University denounced

20 offensive conduct, offered support to Jewish members of the University community, and took

21 action where appropriate—such as by opening a criminal investigation into the February 26

22 incident and denying academic credit to journals that adopted the bylaws Plaintiffs challenge.

23          What is more, to the extent that Plaintiffs’ claims turn on ripped-from-the-headlines

24 additions to their FAC, those claims are unripe. Because the University is liable only for its own

25 response to student misconduct—and not for the misconduct itself—the University cannot be sued

26 until its process is complete. Plaintiffs attempt to flip that on its head by citing actions that

27 occurred just a few weeks—and in one case two days—before filing the FAC, while blaming the

28 University for failing to investigate and then complete disciplinary proceedings in that short time.

                                                       -1-                         Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
         Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 9 of 22




 1 Permitting claims against universities on such fresh allegations of student misconduct would

 2 transform the federal courts into campus administrators and require courts to speculate about how

 3 universities will mete out student discipline. That is not how “deliberate indifference” operates.

 4          As for the law school student group bylaws that Plaintiffs started with, the complaint has

 5 not meaningfully changed. Plaintiffs still allege that certain student groups adopted bylaws

 6 refusing to invite speakers or publish articles by authors that support Zionism and requiring

 7 leaders of their groups to attend a training session. Consistent with constitutional principles, the

 8 University did not discipline students for their speech. The University, however, swiftly

 9 denounced the policies, expressed support for Jewish students, and announced that it would not
10 grant academic credit for participation in any student organization that adopted the bylaws.

11          All of Plaintiffs’ claims should be dismissed, but that does not mean that the University
12 can or will ignore the underlying issues. These are critical issues that the University is working

13 hard to address.

14 II.      THE ALLEGATIONS IN THE COMPLAINT

15          A.      The University’s Commitment to Nondiscrimination and Free Expression.

16          The University of California stands firmly against antisemitism and has long been

17 committed to “civil rights and equal treatment of all persons regardless of race, ethnicity, national

18 origin, gender, sexual preference, faith, military status, physical disability and/or heritage.” FAC

19 ¶ 56. The University’s written policy prohibits a broad swath of discrimination, including on the

20 basis of race, religion, color, citizenship, national or ethnic origin, and ancestry. Id. ¶¶ 58–60.

21 Berkeley Law, which is relevant to some of the allegations, thus requires student groups to adopt

22 an “all-comers” policy providing that groups “may not impose membership restrictions” based on

23 protected classes, including race, national origin, religion, citizenship, or ancestry. Id. ¶ 64.

24          As a public university, the University is also bound to protect the free speech rights of its

25 students. See id. ¶¶ 64–65. Thus, while the University has adopted time, place, and manner

26 restrictions that limit when, where, and how students may protest (see id. ¶¶ 65–67), it does not

27 and cannot limit the content or the viewpoints expressed during on-campus protests (see id).

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                                                      -2-                          Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 10 of 22




 1          B.      Plaintiffs Allegations of Antisemitism on UC Berkeley’s Campus and The
                    University’s Response.
 2
            The core FAC allegations are that the University’s response to a series of actions by
 3
     students and others violates the Constitution and federal civil rights statutes, focusing first on law
 4
     school student organization bylaws and then post-amendment on a series of campus protests that
 5
     occurred after the filing of the original complaint.
 6
            Student Organization Bylaws. Plaintiffs allege that certain law student groups adopted
 7
     bylaws that (1) asserted that they will not invite outside speakers that support Zionism, id. ¶ 118;
 8
     (2) required student leaders to participate in “Palestine 101” training, id.; and (3) refused to
 9
     publish in their journal authors that supported Zionism, id. ¶ 122. Plaintiffs also allege that
10
     Berkeley Law Dean Erwin Chemerinsky told the student body that the school would not award
11
     academic credit for work in groups that adopted the bylaws. Id. Ex. C. Dean Chemerinsky’s
12
     email also indicated that student organizations would not face discipline for adopting the bylaws
13
     because the First Amendment entitled them to exclude speakers based on viewpoint. Id.
14
            Spring Semester Protests. Plaintiffs also allege that a series of protests in the spring of
15
     2024 involved antisemitic harassment of Jewish students. First, on February 26, 2024, “Jewish
16
     students at UC Berkeley were forced to evacuate a campus theater after a riot led by Bears for
17
     Palestine . . . forcibly shut it down.” FAC ¶ 67. Upon learning that Bears for Palestine intended to
18
     protest the event, the University allegedly worked with Jewish student leaders to move the event
19
     to another location to better guarantee the safety of attendees. Id. ¶¶ 70–71. Plaintiffs also allege
20
     that the University deployed multiple campus police officers, including the chief of campus police,
21
     to secure the event. Id. ¶¶ 72–73. The University allegedly shut down the event after campus
22
     police “were quickly overwhelmed” when individuals “gained unauthorized entry into the
23
     building.” Id. Plaintiffs allege that several Jewish attendees were called antisemitic slurs, spit on,
24
     or were physically assaulted. Id. ¶ 80. Plaintiffs also allege that the University’s police
25
     department is “investigating the incidents [on February 26, 2024] as hate crimes.” Id. ¶ 81.
26
            Second, Plaintiffs allege that in March 2024 a student organization called for law students
27
     to boycott graduation dinners hosted by Dean Chemerinsky via electronic and paper posters
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                                                       -3-                          Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 11 of 22




 1 featuring an antisemitic caricature of the Dean which were denounced by the Dean as antisemitic.

 2 See id. ¶¶ 85–87. A group of students then attended one of the dinners at the Dean’s home and

 3 staged a disruptive protest. After the event, University of California President Michael Drake

 4 called the students’ actions “antisemitic [and] threatening” and explained that they “do not reflect

 5 the values of this university.” Id. ¶ 91. The Chair of the Board of Regents, Rich Leib, called the

 6 students’ actions “deplorable.” Id. The remaining dinners took place with additional security. Id.

 7          Third, Plaintiffs allege that protesters hung banners and yellow police tape blocking the

 8 middle portion of Sather Gate, while leaving the two side portals of the gate free for foot traffic.

 9 Id. ¶ 93. Plaintiffs allege that these protestors harassed Jewish students. Id. ¶ 95. Plaintiffs allege
10 the Sather Gate protest violated the University’s time, place and manner policies and that the

11 University has said it is “making efforts to end those aspects of the nonviolent protest at Sather

12 Gate that violate those . . . restrictions.” Id. ¶ 99. Plaintiffs allege that the University said that

13 “using law enforcement to clear [the gate] would create turmoil,” and so did not do so. Id.

14 According to the FAC, the University expressed commitment to “posting monitors at the gate to

15 ensure that the harassment is halted” and “reporting any violations to the police,” id. ¶ 100, but

16 “students” who are in touch with Plaintiffs have “reported” not seeing monitors. Id.

17          Fourth, Plaintiffs allege that from April 22 to April 29, a 175-tent-encampment protest
18 appeared outside Sproul Hall, which houses the Registrar and Financial Aid. Id. ¶ 101. Plaintiffs

19 allege that Jewish and Israeli students who have gone to “observ[e]” have had their movement

20 obstructed and been physically and/or verbally assaulted by demonstrators. Plaintiffs allege that

21 the University has stated it is “observing the demonstration,” but that the students who have been

22 harassed have not seen any police officers or university observers. Id. ¶ 107. Plaintiffs also allege

23 that in the eleven days after the encampment began and before the FAC was filed, no student or

24 group has been disciplined by the University. Id.

25          Finally, Plaintiffs allege a series of incidents from fall 2023 in which Jewish students and
26 faculty were subjected to antisemitism but do not make any allegations about the University’s

27 response other than to allege that in one case, the University sent an email the day after a robbery

28 identifying it as a potential hate crime. Id. ¶ 115.

                                                       -4-                           Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 12 of 22




 1 III.     LEGAL STANDARD

 2          Rule 12(b)(6) requires sufficient facts to “state a claim to relief that is plausible on its

 3 face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). The same is true for a facial

 4 Rule 12(b)(1) motion. Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012).

 5 IV.      ARGUMENT

 6          A.      Plaintiffs’ Claims Should Be Dismissed Under Article III and Rule 12(b)(1).

 7                  1.      Plaintiffs’ Title VI Claim Should Be Dismissed As Unripe.

 8          Plaintiffs’ Title VI claim is not ripe. “A claim is not ripe for adjudication if it rests upon

 9 ‘contingent future events that may not occur as anticipated, or indeed may not occur at all.’”
10 Texas v. United States, 523 U.S. 296, 300 (1998) (citation omitted). “[W]here further factual

11 development would aid the court’s consideration,” a case is unripe “until the pertinent facts have

12 been well-developed.” In re Coleman, 560 F.3d 1000, 1009 (9th Cir. 2009). Until then, it is “too

13 ‘impermissibly speculative’ to present a justiciable controversy.” Id. at 1005 (citation omitted).

14          That is the case here. Plaintiffs do not allege that the University carried out, endorsed, or
15 promoted any of the actions they challenge. And the University “cannot be held vicariously

16 liable” under Title VI for the bad actions of third parties. United States v. Cnty. of Maricopa, 889

17 F.3d 648, 652 (9th Cir. 2018). Instead, the essence of Plaintiffs’ Title VI claim is that the

18 University has been deliberately indifferent to actions by others during a series of protests from

19 February to May of this year. See FAC ¶¶ 69–117, 187–88. But whether the University’s

20 response is deliberately indifferent cannot be decided until the University actually has had an

21 opportunity to respond. At a minimum, “further factual development would aid the court’s

22 consideration” of the adequacy of the University’s response. Coleman, 560 F.3d at 1009.

23          The allegations in the FAC make clear that the University’s response to harassment is
24 ongoing. For example, Plaintiffs allege that students and faculty have filed reports with campus

25 police and sent letters to the University administration, FAC ¶ 25, that Congress has opened an

26 investigation, id. ¶¶ 16, 109, and that the University’s police department “is investigating,” id.

27 ¶ 81. The protests at the heart of Plaintiffs’ claim, id. ¶¶ 69–107, allegedly took place between

28 February and May 1, 2024—just two days before they filed the FAC. See id. ¶¶ 93, 104. The

                                                       -5-                           Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 13 of 22




 1 encampment appeared eleven days before the FAC. Id. ¶ 101. The interrupted dinner at Dean

 2 Chemerinsky’s home occurred, in Plaintiffs’ words, “[l]ess than a month” before the filing of the

 3 FAC. Id. ¶ 11. Even as to the earliest event, the late-February event at Zellerbach Hall, Plaintiffs

 4 allege the police department—in the present tense—“is investigating.” Id. ¶ 81 (emphasis added).

 5          The law (and the University’s policies) allow it substantially more time to initiate and

 6 complete a response before the response can be challenged as deliberately indifferent. In the Title

 7 IX context—which is interpreted “consistently with Title VI,” Barnes v. Gorman, 536 U.S. 181,

 8 185 (2002)—an investigation that takes more than eight months to impose any discipline is not

 9 unlawful, even if the complainant is unaware that any such investigation is underway. See
10 Karasek v. Regents of the Univ. of Cal., 956 F.3d 1093, 1106 (9th Cir. 2020). Dismissal on

11 ripeness grounds is therefore warranted where, as here, the complaint is filed before the university

12 has had time to conclude a reasonable investigation. See Doe v. Oberlin Coll., 60 F.4th 345, 356

13 (6th Cir. 2023) (“the district court was correct to dismiss the selective enforcement claim on

14 ripeness grounds” because as of the filing of the complaint, “there was no certainty about what

15 action Oberlin would take,” including the “possibility that Oberlin could have opened an

16 investigation”); Peloe v. Univ. of Cincinnati, No. 1:14-cv-404, 2015 WL 728309, at *14 (S.D.

17 Ohio Feb. 19, 2015) (claim that university “acted with deliberate indifference by failing to correct

18 misconduct is premature because the University has not made an enforceable final decision”

19 regarding the misconduct). If Plaintiffs attempt to rescue the isolated set of fall 2023 incidents or

20 law school student group allegations as individually ripe for purposes of their Title VI claim, the

21 spring protests clearly are not—and should be severed from this action as unripe. See Mandel v.

22 Bd. of Trs. of Cal. State Univ., No. 17-cv-03511-WHO, 2018 WL 5458739, at *22, *25 & n.38

23 (N.D. Cal. Oct. 29, 2018) (individual allegations may be severed as unripe in Title VI action).

24          Finally, Plaintiffs have not “show[n] that withholding review would result in direct and
25 immediate hardship.” US W. Commc’ns v. MFS Intelenet, Inc., 193 F.3d 1112, 1118 (9th Cir.

26 1999) (citation omitted). The academic year is over, and there is no allegation that the

27 encampment or Sather Gate protest will continue. (Nor could there be—they have ended.)

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                                                     -6-                         Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 14 of 22




 1                 2.      Plaintiffs Lack Standing to Challenge the Student Group Bylaws.

 2          There is another 12(b)(1) issue: Plaintiffs lack standing to challenge the bylaws.

 3          No Injury to Scholars. Plaintiffs do not allege that any JAFE member would have been

 4 invited by the relevant student groups but for the bylaws such that their non-invitation is “fairly

 5 traceable” to the bylaws. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992); see Wash.

 6 Env’t Council v. Bellon, 732 F.3d 1131, 1142 (9th Cir. 2013); FAC ¶¶ 23–37. If the University

 7 were allowed to force student groups to drop the bylaws, there is no reason to infer that those

 8 groups would invite JAFE members to speak. Nor do Plaintiffs allege that any JAFE member has

 9 written or imminently will write— much less submit—an article appropriate for publication in the
10 Gender, Law, and Justice journal that adopted the bylaw limiting publication. See FAC ¶¶ 23–37.

11          No Injury to Students. JAFE similarly fails to allege that any of its student members has
12 standing. JAFE makes only the conclusory allegation that its law student members have been

13 “constructively expelled” from student groups that have adopted the bylaws. But they notably do

14 not allege that any law student has been excluded from membership or leadership in any group.

15          No Organizational Injury. The Brandeis Center has no “organizational” injury related to
16 the bylaws because it has not alleged that it diverted resources to addressing them or would have

17 suffered injury had it not done so. See Friends of the Earth v. Sanderson Farms, Inc., 992 F.3d

18 939, 942 (9th Cir. 2021). The Center “cannot manufacture the injury by incurring litigation costs”

19 such as the Public Records Act action it filed to prepare this one. La Asociacion de Trabajadores

20 de Lake Forest v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010); see FAC ¶ 25.

21          No Redressability. Regardless, Plaintiffs’ alleged injuries are not redressable because they
22 seek relief that this Court cannot award. The challenged bylaws are speech protected by the First

23 Amendment: The bylaws exclude speakers in order to preserve a desired message, Hurley v.

24 Irish-Am. Gay, Lesbian, & Bisexual Grp. Of Boston, 515 U.S. 557 (1995), allow editorial

25 judgment about what speech and who to publish, Miami Herald Publ’g Co. v. Tornillo, 418 U.S.

26 241 (1974), implicate student groups’ rights to associate with outside groups and one another, see

27 Healy v. James, 408 U.S. 169, 187 (1972), and assert students’ right to obtain access to particular

28 ideas, see, e.g., Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 867

                                                     -7-                         Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 15 of 22




 1 (1982). Disciplining students for this speech activity would violate the First Amendment. See

 2 Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 831 (1995) (public universities

 3 violate the First Amendment when they “select[] for disfavored treatment” student organizations

 4 based on their particular “viewpoint”). And because Plaintiffs ask this Court to order Defendants

 5 to do what the Constitution prohibits, their injuries are not redressable. See M.S. v. Brown, 902

 6 F.3d 1076, 1086 (9th Cir. 2018) (injuries not redressable when relief sought would violate

 7 Constitution); Reeves v. Nago, 535 F. Supp. 3d 943, 956 (D. Haw. 2021) (same).

 8          B.      All of the Claims Should be Dismissed Under Rule 12(b)(6).

 9                  1.     Plaintiffs Fail to State an Equal Protection Claim.
10          Plaintiffs’ Equal Protection claim fails because they have not alleged that the University’s
11 action (or inaction) was motivated by a discriminatory intent. Monteiro v. Tempe Union High Sch.

12 Dist., 158 F.3d 1022, 1026 (9th Cir. 1998) (citing Washington v. Davis, 426 U.S. 229 (1976)).

13 Discriminatory animus must be shown by alleging either “direct” or “circumstantial” evidence of

14 its existence. Ballou v. McElvain, 29 F.4th 413, 422 (9th Cir. 2022). Here, Plaintiffs do neither.

15          Plaintiffs allege no direct evidence of animus by the University, as opposed to by
16 protestors or other students. Just the opposite: the FAC quotes extensively from public statements

17 by Dean Chemerinsky and other University officials condemning the conduct Plaintiffs allege as

18 antisemitic. See FAC ¶¶ 13, 15, 141, 143. Nor do Plaintiffs allege circumstantial evidence of

19 animus, such as “a relevant comparator” who was treated better by the University despite being

20 similar to Plaintiffs’ members “in all material respects.” Ballou, 29 F.4th at 423–24 (citation

21 omitted). Plaintiffs make no allegation that the University has enforced its policies differently to

22 favor other groups. The most Plaintiffs allege is that the University “would enforce these policies

23 to prevent discrimination against other protected classes” and “intentionally chose not to enforce

24 [the school’s] policies in an evenhanded way.” FAC ¶¶ 159, 160. But that conclusory allegation

25 is not sufficient to state a claim. See Shooter v. Arizona, 4 F.4th 955, 960 (9th Cir. 2021) (bare

26 allegation of differential treatment insufficient to plead discriminatory intent).

27                  2.     Plaintiffs Fail to State a Free Exercise Claim
28          Plaintiffs’ Free Exercise claim likewise fails. To allege such a claim, a plaintiff must

                                                      -8-                         Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 16 of 22




 1 identify “official expressions of hostility” or show that a policy is not neutral and not generally

 2 applicable. Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2421–22 & n.1 (2022) (citation

 3 omitted). The FAC identifies neither official expressions of hostility nor a non-neutral policy

 4 attributable to the University. Nor does the FAC plead facts showing that the University has

 5 disciplined another student group for offensive speech about other protected groups, but chose not

 6 to punish similar speech about Jewish students. Plaintiffs thus have not alleged that the University

 7 has “treat[ed] any comparable secular activity more favorably than religious exercise.” Tandon v.

 8 Newsom, 593 U.S. 61, 62 (2021) (emphasis original). To the extent that Plaintiffs premise their

 9 Free Exercise claim on the actions of students in creating an allegedly hostile environment, the
10 University cannot be held liable for the actions of those private actors. Felber v. Yudof, 851 F.

11 Supp. 2d 1182, 1186 (N.D. Cal. 2011).

12                  3.     Plaintiffs Fail to State a Claim Under Section 1981.
13          Plaintiffs’ section 1981 claim should be dismissed. Section 1981 prohibits racial
14 discrimination in “mak[ing] and enforc[ing] contracts.” 42 U.S.C. § 1981(a). It applies only to

15 intentional race discrimination. Gen. Bldg. Contractors Ass’n, Inc. v. Pennsylvania, 458 U.S. 375,

16 396 (1982). Plaintiffs do not allege that anyone was denied a contract by the University because

17 of race. Plaintiffs allege only that “[r]egistered student groups … routinely contract with outside

18 speakers.” FAC ¶ 136 (italics added). But they make no allegation that the University contracts

19 with those speakers—much less that the University refused to contract with anyone because of

20 race (or religion, national origin, or shared ancestry, which section 1981 does not reach).

21                  4.     Plaintiffs Fail to State a Title VI Claim.
22          Plaintiffs’ Title VI claim fails because Plaintiffs have not alleged that the University
23 intentionally discriminated against anyone. Indeed, Title VI authorizes an implied private cause of

24 action only for “intentional conduct.” Barnes, 536 U.S. at 186–87; Mandel v. Bd. of Trs. of Cal.

25 State Univ., No. 17-cv-03511-WHO, 2018 WL 1242067, at *17 (N.D. Cal. Mar. 9, 2018).

26 Plaintiffs have not plausibly alleged either direct discrimination by the University or deliberate

27 indifference to the actions of others.

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                                                      -9-                          Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 17 of 22




 1                         (a)     Plaintiffs Fail to State a Claim for Direct Discrimination.

 2          Plaintiffs’ direct discrimination theory fails because they have not alleged animus by

 3 University officials. See Students for Fair Admissions, Inc. v. President & Fellows of Harvard

 4 Coll., 600 U.S. 181, 198 n.2 (2023); The Comm. Concerning Cmty. Improvement v. City of

 5 Modesto, 583 F.3d 690, 702–03 (9th Cir. 2011).

 6                         (b)     Plaintiffs Fail to State a “Hostile Environment” Claim Because
                                   They Have Not Alleged Deliberate Indifference.
 7

 8          Nor have Plaintiffs stated a Title VI claim based on the theory that the University acted

 9 with “deliberate indifference” to known harassment. Davis v. Monroe Cnty. Bd. of Educ., 526
10 U.S. 629, 633, 642–43 (1999). A school is deliberately indifferent only if its response to a hostile

11 environment is “clearly unreasonable in light of the known circumstances.” Id. at 648. This does

12 not “mean that recipients can avoid liability only by purging their schools of actionable peer

13 harassment.” Id. Nor does it mean “that administrators must engage in particular disciplinary

14 action.” Id. Indeed, it would be “entirely reasonable for a school to refrain from a form of

15 disciplinary action that would expose it to constitutional or statutory claims.” Id. at 649.

16 Universities have many other options for responding to harassment on campus to satisfy Title VI,

17 including denouncing the harassment, expressing university values, and providing support to

18 affected students. See Dear Colleague Letter, Dep’t of Educ., Office for Civil Rights (May 7,

19 2024). Here, Plaintiffs have not plausibly alleged that the University’s response—which, again, is

20 still ongoing—has been deliberately indifferent. To the contrary, their allegations show the

21 University has not been deliberately indifferent.

22          Law Student Organizations. With respect to the law school student group bylaws,
23 Plaintiffs have alleged at least as robust of a response as those held not to be “clearly

24 unreasonable.” In Mandel, for example, San Francisco State had investigated complaints of

25 antisemitism at protest events and wrote reports in response detailing where administrators had

26 erred and what corrective steps could be taken in the future, but no student was disciplined. 2018

27 WL 1242067, at *3, *19. Here, Plaintiffs allege that the University forcefully denounced the

28 bylaws, communicated directly to affected students expressing their support and explaining their

                                                     -10-                         Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 18 of 22




 1 response, and denied academic credit where appropriate. See supra pp. 3–4; see also FAC Ex. C.

 2 Going further and disciplining student groups would violate the First Amendment—and “it would

 3 be entirely reasonable for a school to refrain from a form of disciplinary action that would expose

 4 it to constitutional or statutory claims.” Davis, 526 U.S. at 649; Felber, 851 F. Supp. 2d at 1188.

 5          February 26, 2024, Event. The FAC fails to allege that the University’s response to a mob

 6 that “shut down a speaking engagement organized by Jewish students” was deliberately

 7 indifferent. FAC ¶ 3. Plaintiffs allege that the University “fail[ed] to stop the mob” or otherwise

 8 “take any meaningful action.” Id. ¶ 4. But the FAC shows that the University took proactive and

 9 concrete steps before and during the event. It moved the event to a more secure location, deployed
10 multiple campus police officers (including the chief of police), physically intervened to protect

11 students from rioters, and cancelled the event and evacuated attendees. See id. ¶¶ 71–75. The

12 University also took action after the fact. Id. ¶ 15. As the FAC says, “UC Berkeley Police

13 Department is investigating [the rioters’ conduct] as hate crimes.” Id. ¶ 81. And University

14 officials denounced the rioters and their “overt[] antisemitic expression.” See id. ¶¶ 81, 141.

15          Plaintiffs’ primary issue with the University’s response appears to be that “Bears for
16 Palestine has not been suspended or disciplined.” Id. ¶ 83. Yet the FAC does not allege facts to

17 show that Bears for Palestine was responsible for any conduct that violated University policy.

18 Plaintiffs’ allegation that “Defendant Christ acknowledged that students from Bears for Palestine

19 had ‘gained unauthorized entry into the building’” is demonstrably wrong. Id. ¶ 73 (emphasis

20 added). Plaintiffs selectively quote from Chancellor Christ’s statement, impermissibly “selecting

21 only portions of documents that support their claims” while “omitting portions” of the quotation

22 “that weaken—or doom—their claims.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988,

23 1002 (9th Cir. 2018). In fact, Chancellor Christ states only that “protesters gained unauthorized

24 entry to the building,” not Bears for Palestine (or any other students). 1 The only other allegations

25
   1
     Chancellor Christ’s full quote appears in her official statement, Upholding Our Values, Berkeley
26 News, Feb. 27, 2024, https://news.berkeley.edu/2024/02/27/upholding-our-values/, which is
   named and cited via a hyperlink at paragraph 139 of the FAC. It may therefore be considered by
27
   this Court as incorporated by reference. Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007);
28 see also Lazy Y Ranch Ltd. v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008) (“we need not accept as

                                                     -11-                        Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 19 of 22




 1 about Bears for Palestine involve protected speech—posting publicly on social media and

 2 organizing a protest, id. ¶¶ 69–70—which would be insufficient without more for the University

 3 to impose discipline, even if the message is contrary to the University’s values.

 4          Moreover, failure to discipline students within two and half months of an incident is not

 5 deliberately indifferent. Rather, the Ninth Circuit has held that disciplinary processes can take as

 6 many as eight months without crossing over into being unlawfully slow. Karasek, 956 F.3d at

 7 1106; see also Oden v. N. Marianas Coll., 440 F.3d 1085, 1089 (9th Cir. 2006). It is reasonable to

 8 await the results of the active investigation by campus police before starting disciplinary

 9 proceedings. See FAC ¶ 81; Moore v. Regents of the Univ. of Cal., No. 15-CV-05779-RS, 2016
10 WL 2961984, at *6 (N.D. Cal. May 23, 2016).

11          Nor would discipline necessarily be required to avoid deliberate indifference. See Mandel,
12 2018 WL 1242067 at *1, *4. In Mandel, plaintiffs alleged that the campus was deliberately

13 indifferent in its response to a speech that was interrupted by protestors because it “confirmed that

14 violations of the Student Conduct Code had occurred” but “no actions were taken . . . other than

15 verbal warnings.” Id. at *4. That was not deliberate indifference because the school had taken

16 “broader steps to address the shutdown of [the] event and anti-Semitism . . . in general.” Id. at

17 *19. The University’s response here has been more robust than in Mandel, as it has clearly

18 condemned the activity as antisemitic and initiated a criminal investigation, which is underway.

19          Sather Gate Protests. The FAC fails to allege that the University’s response to the partial
20 blockade of Sather Gate was deliberately indifferent. Here, Plaintiffs’ primary objection appears

21 to be that the University did not clear the protests. This aspect of Plaintiffs’ FAC faults the

22 University for not clearing—perhaps forcibly—a protest that contained both undeniably protected

23 political speech and allegedly offensive harassment of Jewish students. Clearing a protest at

24 which some students (even if not all participants) are expressing political speech is a “form of

25 disciplinary action that would expose [the University] to constitutional . . . claims” from those

26

27
   true allegations contradicting documents that are referenced in the complaint”). Alternatively,
28 Defendants request judicial notice of the Chancellor’s statement in a concurrently filed request.

                                                     -12-                        Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 20 of 22




 1 students and is therefore not required by Title VI. Davis, 526 U.S. at 649 (Title IX case, but as

 2 noted, courts interpret Title VI and Title IX consistently.)

 3          Plaintiffs also suggest that the University could have and should have shut down the

 4 protest entirely because aspects of it violate time, place, and manner restrictions. FAC ¶ 99. But

 5 again, Title VI does not command particular disciplinary actions. Davis, 526 U.S. at 648. There

 6 is no allegation that the entirety of the protest violated that policy. And Plaintiffs allege that the

 7 University was “making efforts to end those aspects of the nonviolent protest at Sather Gate that

 8 violate [its] time, place, and manner restrictions.” FAC ¶ 99 (emphasis added). In any event, the

 9 University stated that it did not use law enforcement to clear the protest because it did not want to
10 “create turmoil,” id., which is the sort of on-the-ground judgment that courts are not supposed to

11 second guess. Davis, 526 U.S. at 648; see also Moore, 2016 WL 2961984, at *6.

12          Sproul Hall Encampment. Nor have Plaintiffs plausibly alleged deliberate indifference to
13 the encampments in front of Sproul Hall. FAC ¶ 101. That is due in no small part to the fact that

14 the encampment appeared just eleven days before Plaintiffs filed their FAC. Courts have held

15 delays in responses that lasted weeks were not “clearly unreasonable.” See, e.g., Tanjaya v.

16 Regents of Univ. of Cal., No. CV 19-2956-GW(FFMx), 2019 WL 13252681, at *5 (C.D. Cal. Dec.

17 12, 2019), aff’d, 830 F. App’x 526 (9th Cir. 2020) (holding a weeks-long delay followed by an

18 eight-month investigation was not clearly unreasonable). But Plaintiffs allege the University

19 assured the community that it is “observing the demonstration.” FAC ¶ 107. If Plaintiffs’ issue is

20 that the University did not discipline anyone for the encampment or (accepting the allegations as

21 true for now) take various other actions in the eleven days between when the encampment started

22 and the FAC, see id., that only underscores that the claim is premature. The need for deliberation

23 and patience is especially important due to the complexity of the issue and competing

24 considerations facing the University, including the risk of potential constitutional concerns

25 associated with taking action to address the encampment. See supra pp. 10–11.

26          Dean Chemerinsky Event. The FAC also fails to allege that the University has been
27 deliberately indifferent to harassment related to the Dean Chemerinsky event. FAC ¶ 11. The

28 FAC alleges that LSJP members disrupted a dinner that the Dean hosted for graduating students,

                                                      -13-                         Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 21 of 22




 1 refused to leave when asked to do so, and circulated an antisemitic caricature of the Dean. Id.

 2 ¶¶ 11, 12. Yet the FAC also makes clear that the University took firm and sweeping action in

 3 response, denouncing the antisemitic images and supporting Dean Chemerinsky. The FAC

 4 acknowledges that “the University condemned the actions of the students involved and recognized

 5 that they were anti-Semitic.” Id. ¶ 143. President Drake issued a statement acknowledging that

 6 the actions of the students “were antisemitic, threatening, and do not reflect the values of this

 7 university.” Id. ¶ 91. Board of Regents Chair Leib called the actions “deplorable.” Id.

 8          Plaintiffs are not satisfied because “LSJP has not had its registered student organization

 9 status revoked,” id. ¶ 143, but that does not establish deliberate indifference. The University’s
10 clear condemnation is exactly the type of response imagined in Education Department guidance on

11 Title VI. See Dear Colleague Letter at 3; see also Feminist Majority Found. v. Hurley, 911 F.3d

12 674, 693 (4th Cir. 2018) (suggesting “vigorously denounc[ing] the harassing and threatening

13 conduct” as an appropriate response). And revoking LSJP’s status in the present circumstances

14 would create risk of potential constitutional concerns. See Davis, 526 U.S. at 648. At least one

15 other university has been sued for just that. See Columbia Students for Justice in Palestine v.

16 Columbia Univ., No. 152220 (N.Y. Sup. Ct. Mar. 11, 2024). At a minimum, the University should

17 be given time to respond before the Court can determine whether it has responded adequately.

18          Other Incidents of Alleged Harassment. Plaintiffs also include “a number of additional
19 conclusory allegations that lack the date they occurred, how frequently they occurred, and who

20 was involved.” Mandel, 2018 WL 1242067 at *5. Plaintiffs cannot rely on these sparse

21 allegations. But even if they could, they do not support deliberate indifference. Plaintiffs make no

22 allegations at all about the University’s response, other than to fault the University for initially

23 calling one incident a “hate crime” without saying that it was antisemitic in nature. FAC ¶ 115.

24                  5.      Plaintiffs Fail to State an ADA Claim.
25          Plaintiffs’ ADA claim also fails. The FAC alleges that student protests have partially
26 obstructed Plaintiffs’ access to two locations on the University’s campus: Sather Gate and Sproul

27 Hall. FAC ¶ 191. To state a claim under Title II, a plaintiff must show that they were either

28 excluded from participation in or denied the benefits of a public entity’s services, programs, or

                                                      -14-                         Case No. 3:23-cv-06133-JD
                              MOTION TO DISMISS FIRST AMENDED COMPLAINT
         Case 3:23-cv-06133-JD Document 68 Filed 06/10/24 Page 22 of 22




 1 activities solely because of their disability. Weinreich v. L.A. Cnty. Metro. Transp. Auth., 114 F.3d

 2 976, 978 (9th Cir. 1997); Does 1-5 v. Chandler, 83 F.3d 1150, 1155 (9th Cir. 1996). “An entity is

 3 ‘not required to produce the identical result for handicapped and nonhandicapped persons,’ but

 4 they nevertheless ‘must afford handicapped persons equal opportunity to gain the same benefit.’”

 5 Bassilios v. City of Torrance, CA, 166 F. Supp. 3d 1061, 1077 (C.D. Cal. 2015) (citation omitted).

 6          Plaintiffs do not meet this standard. First, they do not allege that the protest at Sather Gate

 7 denies them access to the University’s services, which means they fall short of the requirement to

 8 plead that there are locations that the plaintiff cannot reach at all “because of access barriers.”

 9 Kirola v. City & Cnty. of San Francisco, 860 F.3d 1164, 1183 (9th Cir. 2017). The FAC alleges
10 that the protest prevents use of one portion of Sather Gate, while leaving two separate portions of

11 the gate open to traffic. FAC ¶ 96. And the FAC does not allege that the protest prevents JAFE

12 Member #1 from accessing classes; only that the student has had to go to class via other routes.

13 Id. Second, Plaintiffs do not allege that Sproul Hall is inaccessible to individuals due to disability;

14 they allege that students feel unable to access Sproul Hall due to harassment. Id. ¶ 102.

15 Antisemitic harassment should not occur on campus, but if it does, it does not implicate the ADA.

16 V.       CONCLUSION

17          For these reasons, the Court should dismiss Plaintiffs’ claims. 2

18 DATED: June 10, 2024                         MUNGER, TOLLES & OLSON LLP

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                                                By:          Bryan H. Heckenlively
21                                                         BRYAN H. HECKENLIVELY
                                                      Attorneys for Defendants
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     2
25   The Court should dismiss Counts I to III against The Regents of the University of California,
   which cannot be sued under sections 1981 or 1983 because it is an arm of the state. Armstrong v.
26 Meyers, 964 F.2d 948, 949–50 (9th Cir. 1992); Pittman v. Or., Emp. Dep’t, 509 F.3d 1065, 1066
   (9th Cir. 2007). “UC Berkeley” and “Berkeley Law School” should be dismissed in full because
27
   they are not legal entities distinct from The Regents. See Mihan v. Regents of the Univ. of Cal.,
28 No. 2:16-cv-01390-KJM-CMK, 2016 WL 6875911, at *3 (E.D. Cal. Nov. 21, 2016).

                                                      -15-                         Case No. 3:23-cv-06133-JD
                             MOTION TO DISMISS FIRST AMENDED COMPLAINT
